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 IN THE UNITED STATES DISTRICT COURT FOR THE SOUTHERN DISTRICT OF
                             ALABAMA,
                         SOUTHERN DIVISION

SAFEWAY INSURANCE COMPANY                     *
OF ALABAMA, INC., as subrogee of
Travis Smith,                                 *

        Plaintiff,                            *       CASE NO.:

vs.                                           *

UNITED STATES POSTAL SERVICE, *
and ANGELA E. RILEY,
                              *
      Defendants.

                                          COMPLAINT

        1. Plaintiff brings this property damage subrogation action pursuant to the Federal Tort

Claims Act, 28 U.S.C. § 2671, et seq. Plaintiff has filed SF95 with the United States Postal

Service, a copy of which is attached as Plaintiff’s Exhibit 1.

        2. Defendant Angela E. Riley is an adult resident citizen of Mobile County, Alabama,

and was an employee of USPS at the time of the collision and damages made the basis of this

suit.

        3. On August 28, 2015, defendant Angela E. Riley negligently or recklessly caused

property damages to a 2010 Kia Soul automobile insured by the Plaintiff by causing or allowing

a 1988 GRRM United States Postal Service vehicle to collide with the 2010 Kia Soul at the

intersection of Dauphin and Catherine Streets. Defendant Riley was working in the line and

scope of her employment with USPS at the time she caused the collision.

        4. At the time of the collision caused by Angela E. Riley, the traffic signal light was

flashing red for traffic on both Dauphin and Catherine Streets. Defendant Riley caused the motor
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vehicle collision by failing to yield the right of way to Dauphin Street traffic, and by failing to

keep a proper lookout for other traffic.

       5. As a direct and proximate result and consequence of the negligence or recklessness of

Angela E. Riley, the 2010 Kia Soul automobile, which was owned by Travis Smith and Lane

Morgan, was destroyed; declared a total loss; and had to be sold for scrap.

       6. Plaintiff was contractually obligated to pay for the damages caused by the defendants

in the amount of $7,448.49. Plaintiff brings this action for all damages arising out of, or directly

related to, the motor vehicle collision of August 28, 2015, which was caused by a U.S. Postal

Service employee while operating a USPS vehicle on her job.

       WHEREFORE, Plaintiff Safeway Insurance of Alabama, Inc., demands judgment against

Defendants United States Postal Service and Angela E. Riley in the amount of $7,448.49, and

costs of Court.

                                               Respectfully Submitted,

                                               MICHAEL GILLION, P. C.

                                            By:/s/ Michael Gillion______________________
                                              MICHAEL GILLION                 GIL015
                                              Attorney for Plaintiff
OF COUNSEL:
Michael Gillion, P.C.
Post Office Box 161423
Mobile, Alabama 36616-2423
Telephone: 251-471-9494
Toll Free: 1-866-770-9494
Email: mgillion@gillionlaw.com

SERVE THE DEFENDANTS BY CERTIFIED MAIL:

Angela E. Riley
6650 Cottage Hill Road
Apt. 1401
Mobile, AL 36695
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Post Master
United States Postal Service
250 St. Joseph Street
Mobile, AL 36601
